  1                                                         The Honorable Mary Jo Heston
                                                            Chapter 13
  2                                                         Hearing Location: 1717 Pacific Avenue,
                                                            Tacoma, WA 98402
  3                                                         Courtroom H
                                                            Hearing Date: December 6, 2018
  4                                                         Hearing Time: 1:00 p.m.
                                                            Response Date: November 29, 2018
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  9                              UNITED STATES BANKRUPTCY COURT
 10                  WESTERN DISTRICT OF WASHINGTON - TACOMA DIVISION

 11

 12   In Re:                                          )   Case No.: 18-43364-MJH
                                                      )
 13   James Michael Greiner,                          )   CHAPTER 13
                                                      )
 14                                                   )
               Debtors.                               )   FCI LENDER SERVICES (“LOAN
 15                                                   )   SERVICER”) SERVICER FOR
                                                      )   WILMINGTON SAVINGS FUND
                                                      )   SOCIETY, FSB, D/B/A CHRISTIANA
 16                                                   )   TRUST AS OWNER TRUSTEE OF THE
                                                      )   RESIDENTIAL CREDIT
 17                                                   )   OPPORTUNITIES TRUST V NOTICE OF
                                                      )   MOTION FOR RELIEF FROM THE
 18                                                   )   AUTOMATIC STAY
                                                      )
 19
 20

 21
                                          NOTICE OF HEARING
 22
                PLEASE TAKE NOTICE THAT FCI LENDER SERVICES (“Loan Servicer”)
 23
      SERVICER FOR WILMINGTON SAVINGS FUND SOCIETY, FSB, D/B/A CHRISTIANA
 24
      TRUST AS OWNER TRUSTEE OF THE RESIDENTIAL CREDIT OPPORTUNITIES
 25
      TRUST V, ITS SUCCESSORS AND/OR ASSIGNEES (“Creditor”)’S motion seeking Relief
 26
      form the Automatic Stay (the “Motion”) is SET FOR HEARING AS FOLLOWS:
 27
      ////
 28
      Notice of Motion– Page 1                                      The Law Offices of Michelle Ghidotti
                                                                               1920 Old Tustin Avenue
                                                                                  Santa Ana, CA 92705
                                                                                     Tele: 949-427-2010

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  1   Judge: Mary Jo Heston                        Time: 9:30 AM

  2   Place: 1717 Pacific Avenue                      Date: December 6, 2018

  3           Tacoma, WA 9840

  4           Courtroom H

  5            IF YOU OPPOSE the Motion, you must file your written response with the Clerk’s

  6   office of the bankruptcy court and deliver copies to the undersigned NOT LATER THAN THE

  7   RESPONSE DATE, which is November 29, 2018. IF NO RESPONSE IS TIMELY FILED

  8   AND SERVED, the Court may, in its discretion, GRANT THE MOTION PRIOR TO THE

  9   HEARING WITHOUT FURTHER NOTICE, and strike the hearing.

 10

 11   Dated: October 25, 2018               Respectfully Submitted,
 12
                                            THE LAW OFFICES OF MICHELLE GHIDOTTI
 13
                                            /s/ Kristin A. Zilberstein
 14                                         Kristin A. Zilberstein, Esq. WSBA #47798
                                            Counsel for Wilmington Savings Fund Society, FSB,
 15                                         d/b/a Christiana Trust as Owner Trustee of the Residential
                                            Credit Opportunities Trust V
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 28
      Notice of Motion– Page 2                                      The Law Offices of Michelle Ghidotti
                                                                               1920 Old Tustin Avenue
                                                                                  Santa Ana, CA 92705
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